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                          UNITED STATES DISTRICT COURT

                               DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

       v.
                                                       Case No. 22-mj-22
ILYA LICHTENSTEIN, and
                                                       Chief Judge Beryl A. Howell
HEATHER MORGAN

                            Defendant.



             [DEFENDANT'S PROPOSED} ORDER GRANTING MOTION FOR
            ADMISSION OF ATTORNEY SAMSON ENZER PRO HAC VICE

       The Court has reviewed the Defendants' motion for admission of attorney Samson Enzer
pro hac vice. Upon consideration of that motion, the Court grants attorney Samson Enzer pro
hac vice admission to this Court.



IT IS SO ORDERED.

DATED: - - -
                                                 United States District Judge
